Case 3:22-cv-00049-NKM-JCH Document 157 Filed 02/03/23 Page 1 of 5 Pageid#: 1438




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :                CIVIL ACTION NO. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          :
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


  PLAINTIFFS’ MOTION, AND MEMORANDUM OF LAW IN SUPPORT OF MOTION,
  TO SEAL EXHIBITS A AND B TO THEIR REPLY MEMORANDUM IN SUPPORT OF
    PLAINTIFF’S MOTION TO SHOW CAUSE WHY DEFENDANTS JOSHUA AND
           STEPHANIE MAST SHOULD NOT BE HELD IN CONTEMPT

        Plaintiffs, by counsel, respectfully move for leave to file under seal Exhibits A and B to

  their Reply Memorandum in Support of their Motion to Show Cause Why Defendants Joshua and
Case 3:22-cv-00049-NKM-JCH Document 157 Filed 02/03/23 Page 2 of 5 Pageid#: 1439




  Stephanie Mast Should Not Be Held in Contempt, pursuant to Local Civil Rule 9 and this Court’s

  Protective Order (ECF No. 26). In support thereof, Plaintiffs state as follows:

         Exhibit A and B are a transcripts and exhibits that identify Plaintiffs. Additionally, they

  remain subject to a sealing order issued by the Circuit Court of the County of Fluvanna (“Sealed

  Circuit Court Proceeding”). See ECF No. 73, Exh. B. That Order allows the parties in the Sealed

  Circuit Court Proceeding to file in this matter filings, transcripts, documents and discovery from

  the Sealed Circuit Court Proceeding, so long as such documents are filed under seal in this matter.

  While the circuit court recently verbally ordered that the seal on that proceeding will be lifted, it

  asked the parties to submit proposed redactions to the filings before it will unseal the record. Thus,

  the items included as Exhibit A and B remain under seal in the circuit court.

         Under the common law right of access to judicial records, documents should be sealed

  when a party’s interest in keeping the information contained therein confidential outweighs the

  presumed right of public access. See, e.g. Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d

  178 (4th Cir. 1988); Ashcroft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). “Courts have

  recognized that an interest in protecting the physical and psychological well-being of individuals

  related to the litigation, including family members and particularly minors, may justify restricting

  access” to court documents. United States v. Harris, 890 F.3d 480, 492 (4th Cir. 2018); see also

  United States v. Doe, 962 F.3d 139, 147 (4th Cir. 2020).

         In this instance, the judge in the Sealed Circuit Court Proceeding ordered that all filings

  made in that proceeding be under seal and that, if they are filed in this matter, they must be filed

  under seal. In addition, the threats to the safety of the Plaintiffs and other innocent non-parties are

  very real, and have been recognized by this Court’s Protective Order (ECF No. 26).
Case 3:22-cv-00049-NKM-JCH Document 157 Filed 02/03/23 Page 3 of 5 Pageid#: 1440




         Plaintiffs have publicly filed their Reply Memorandum in Support of their Motion to Show

  Cause Why Defendants Joshua and Stephanie Mast Should Not Be Held In Contempt. Thus, the

  public is not wholly deprived of an understanding of the general underlying factual basis for the

  request. The relief Plaintiffs seek in this motion is narrowly tailored to the circumstances, and aims

  to seal only what is absolutely necessary to safeguard the safety of persons related to the litigation.

  Defendants are not prejudiced as they are aware of Plaintiffs’ identities and are parties to and/or

  aware of the Sealed Circuit Court Proceeding.

         Accordingly, Plaintiffs request that Exhibits A and B to their Reply Memorandum in

  Support of their Motion to Show Cause Why Defendants Joshua and Stephanie Mast Should Not

  Be Held In Contempt be filed under seal, as the risks attendant to public disclosure of these

  documents is not likely to dissipate over time. Plaintiffs will promptly advise this Court if the

  circuit court lifts the seal on any item included in Exhibits A and B.

         A proposed Order is attached as Exhibit 1 to this Motion.

  Dated: February 3, 2023                Respectfully submitted,


                                         /s/ Maya Eckstein
                                         Maya M. Eckstein (VSB No. 41413)
                                         Lewis F. Powell III (VSB No. 18266)
                                         HUNTON ANDREWS KURTH LLP
                                         951 E Byrd St
                                         Richmond, VA 23219
                                         Telephone: (804) 788-8200
                                         Fax: (804) 788-8218
                                         Email: meckstein@HuntonAK.com
                                         Email: lpowell@HuntonAK.com
Case 3:22-cv-00049-NKM-JCH Document 157 Filed 02/03/23 Page 4 of 5 Pageid#: 1441




                               Jeremy C. King (admitted pro hac vice)
                               HUNTON ANDREWS KURTH LLP
                               200 Park Avenue
                               New York, NY 10166
                               Telephone: (212) 309-1000
                               Fax: (212) 309-1100
                               Email: jking@HuntonAK.com

                               Sehla Ashai (admitted pro hac vice)
                               ELBIALLY LAW, PLLC
                               704 East 15th Street
                               Suite 204
                               Plano, TX 75074
                               Telephone: (312) 659-0154
                               Email: ashai@elbiallylaw.com

                               Blair Connelly (admitted pro hac vice)
                               Zachary L. Rowen (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americas
                               New York, New York 10020
                               Telephone: (212) 906-1200
                               Facsimile: (212) 751-4864
                               Email: Blair.Connelly@lw.com
                               Email: Zachary.Rowen@lw.com

                               Ehson Kashfipour (admitted pro hac vice)
                               Damon R. Porter (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, N.W. Suite 1000
                               Washington, D.C. 20004
                               Telephone: (202) 637-2200
                               Facsimile: (202) 637-2201
                               Email: Ehson.Kashfipour@lw.com
                               Email: Damon.Porter@lw.com


                               Attorneys for Plaintiffs
Case 3:22-cv-00049-NKM-JCH Document 157 Filed 02/03/23 Page 5 of 5 Pageid#: 1442




                                    CERTIFICATE OF SERVICE

          I hereby certify that on the 3rd day of February, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will send a notification of such filing to all

  CM/ECF participants.

                                                         By:     /s/ Maya M. Eckstein
                                                                 Maya M. Eckstein (VSB # 41413)
                                                                 Hunton Andrews Kurth LLP
                                                                 Riverfront Plaza, East Tower
                                                                 951 East Byrd Street
                                                                 Richmond, Virginia 23219-4074
                                                                 Telephone: (804) 788-8200
                                                                 Facsimile: (804) 788-8218
                                                                 meckstein@HuntonAK.com

                                                                 Counsel for Plaintiffs




  099997.0007105 DMS 301104645v1
